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c!1r PATS
 Case Number: CAS-2108823-J9Q0Q4                                                            28S             2018



                                        Accident Description
 o    Accident Description:
 Time Point: 00:43

 Effective Control: XYes nruo                                            Directional Error: nYes XNo

 Control Mode: XGPS Mode flATTl Mode IOPTI Mode nsport Mode



 a    Accident Type:
 tl A. Pilot fault in Positioning Mode                                   n    B. Pilot Fault in ATTI Mode

 n C. Pilot fault when using intelligent          flight                 tl   D. Pilot   fault when using App

 n E. Aircraft crashed with obstacles when RTH                           n F. Strong wind caused accident
 n   G.   Add third-party component caused            accident n H. CSC operation in mid-air
 X   l. Other

 o    Product Model: A3                                                  SN: 0670141883

 o   Additional I nformation:                Flight time:28l07 /201 B 23:45:01 (utc+8) Fly01 1

 1.The aircraft was controlled by    pilot in Waypoint mode.

 2.T=00:43 ,h=40    m,   d=125.4   m, aircraft flipped over when pilot was pushing pitch stick forward

 3. Can   not really locate the cause without the flight controller data.
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c!1r PATS
                                            Flight Record Pictures


            dli   rircnft




                  T=00:43 ,h=40   m,   d=125.4   m, aircraft flipped over during the waypoint   mission




                                                   Flight environment.
